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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                   U.S. MAGISTRATE JUDGE GORDON P. GALLAGHER

 Criminal Case No. 22-cr-113-CMA-GPG                        Court Deputy: A. Barnes
 Date: May 27, 2022                                         Recorder: Grand Junction

 UNITED STATES OF AMERICA,
 Plaintiff,
 v.

 1. DEBRA CAMPBELL,
 Defendant.
 ______________________________________________________________________________
                               Order/Change of Plea
 _____________________________________________________________________________
 Court in Session: 9:02 a.m.

 On this date, Defendant, out of custody, appeared with her defense counsel, AFPD Mary
 Butterton. For the Government appeared: AUSA Pegeen Rhyne and IRS SA Alex Winn.

 This matter came before the Court for a change of plea following the filing of unanimous written
 consent by the parties to the Durango/Grand Junction Protocol to have a United States
 Magistrate Judge provide advisements and a recommendation.

 The Government previously filed an Information in this matter [ECF #1].

 The Defendant wished to waive her rights to indictment and after advising Defendant with
 regard to such waiver, the Court found that Defendant made a knowing, intelligent and voluntary
 waiver of Indictment. Defendant submitted a written waiver of Indictment which the Court
 accepted for filing.

 At this hearing, a Plea Agreement was submitted, and filed as Exhibit 1, pursuant to Federal
 Rule of Criminal Procedure 11.

 The Court inquired of the Government’s actions taken to comply with the requirements of the
 Crime Victims’ Rights Act found at Title 18 United Sate Code Section 3771, and finding
 compliance, proceeded with the hearing. The Government had complied with notice
 requirements and had not received comments or criticisms regarding this matter proceeding as is.

 The Defendant was advised and arraigned with regard to Counts One and Two of Information.
 The Defendant pleaded guilty to Counts One and Two of the Information: a violation of Title 18,
 United States Code, Section 1343(wire fraud) and 26 United Sate Code, Section 7206(1)
 (subscribing a false tax return).
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 The Defendant was sworn and advised regarding:

 1. The terms and provisions of the proposed plea agreement including her waiver of substantial
 appellate rights; and

 2. All matters contained in Federal Rule of Criminal Procedure 11.

 The Court FINDS that:

 (1) The Defendant is fully competent to proceed, to enter an informed plea of Guilty to Counts
 One and Two of the Information;

 (2) The Defendant understands the nature of the charges to which she is pleading guilty;

 (3) The Defendant understands the possible penalties and effects and consequences of a plea of
 guilty;

 (4) The Defendant understands the fundamental Constitutional rights that are being waived
 including Defendant’s right to a jury trial and all the rights associated with a trial;

 (5) The Defendant’s plea of guilty is voluntary and knowingly made;

 (6) The Defendant is satisfied with the representation of Counsel, has been represented through
 the course of this proceeding, and has no objection, criticism or complaint as to the
 representation which Defendant has received;

 (7) The Defendant acknowledges and agrees with and to the factual basis and the Court finds that
 both the charge and plea are supported by an independent basis in fact;

 (8) The Defendant understands that the penalty imposed by the sentencing Court will be based,
 in part, upon the facts stated in the plea agreement and may exceed that which is recommended
 in it;

 (9) Pursuant to the Plea Agreement, the Government intends to follow through with the terms of
 the Plea Agreement so long as Defendant adheres to the terms. The Court finds that the charges
 pleaded to in the Plea Agreement reflect the seriousness of the actual offense behavior.

 (10) The Government complied with the requirements of the Crime Victims’ Rights Act found
 at Title 18 United Sate Code Section 3771, and had not received comments or criticisms
 regarding this matter proceeding as is.

 It is hereby ORDERED:
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 1) The Plea Agreement (Exhibit 1) and the Statement by Defendant in Advance of Plea of
 Guilty (Exhibit 2) are received and admitted.

 2) The Probation Department shall conduct a pre-sentence investigation and submit a pre-
 sentence report as required by Federal Rule of Criminal Procedure 32. Defendant shall, with the
 assistance of Counsel, immediately after this hearing or as soon as practicable, make
 arrangement to participate in the pre-sentence investigation and shall fully cooperate with the
 Probation Department. If Probation determines that a psycho-sexual evaluation is needed,
 Defendant shall comply with Probation with regard to same.

 3) The Sentencing Hearing is set for November 7, 2022 at 8:30 AM before Judge Christine
 Arguello in Room 323/Grand Junction or at such other time/place as shall be ordered.

 4) Any motions hearing and/or trial date is vacated. All non-substantive motions are ordered
 moot.

 5) Defendant remains out of custody.


 It is RECOMMENDED that:

 1) The Plea and Plea Agreement be accepted.

 2) All substantive motions filed heretofore be denied as moot.


 The parties may object in writing to the findings and recommendations pursuant to Federal Rule
 of Criminal Procedure 59(B)(2) within fourteen (14) days.


 Court in Recess: 10:03 a.m.
 Duration: 61 Minutes

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